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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                         IN THE UNITED STATES DISTRICT COURT                             October 10, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                   )
AGGIELAND INFINITY REAL ESTATE                     )
MANAGEMENT, INC. AND SILAS                         )
MONTGOMERY,                                        )
                                                   )
                  Plaintiffs,                      )
                                                   )    CIVIL ACTION NO. 4:23-cv-02606
v.                                                 )
                                                   )
WILMINGTON SAVINGS FUND                            )
SOCIETY FSB, RESIDENTIAL                           )
MORTGAGE AGGREGATION TRUST,                        )
CHURCHILL FUNDING I, LLC,                          )
ASSURED LENDER SERVICES INC. AND                   )
EASY FINANCIAL, LLC                                )
                                                   )
                  Defendants,                      )

                      ORDER OF DISMISSAL WITHOUT PREJUDICE

       The parties have filed a Stipulation of Dismissal Without Prejudice requesting the Court enter

an order dismissing this case without prejudice. The Court therefore enters the following Order:

       IT IS ORDERED that that above-numbered cause of action is DISMISSED WITHOUT

PREJUDICE.

       IT IS FURTHER ORDERED that all costs shall be paid by the party incurring same.

       IT IS FURTHER ORDERED that the Clerk shall close the Case.

       IT IS SO ORDERED.

                       10th
       Signed on this ________             October
                               day of ________________________, 2023.




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                                                         GEORGE
                                                          EORGE C.
                                                                 C HANKS,
                                                                   HANKS JR.
                                                                           JR
                                              UNITED STATES DISTRICT JUDGE
